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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               Case No. 23-CR-20175-DAMIAN/REID
 UNITED STATES OF AMERICA

 vs.

 DANIEL ALBERTO CARPMAN,

                          Defendant.
                                          /

                                 GOVERNMENT’S WITNESS LIST
       The United States hereby files its witness list. The United States respectfully requests leave

 to add additional witnesses based on their availability, whether or not the defendant will testify,

 and whether the United States will present a rebuttal case. At trial, the United States anticipates

 calling the following witnesses in its case-in-chief:

       1. Yandre Trujillo
       2. Juliedys Severo Mirabal Gutierrez
       3. Claudia Borges
       4. Jorge Diaz Gutierrez
       5. E.A.
       6. N.A.
       7. M.P.
       8. L.A.
       9. B.R.
       10. R.P.G.
       11. Iliana Mastrapa
       12. Karina Urrutia
       13. Anais Lorenzo
       14. Susan Laskowski (née Plante)
       15. FBI Special Agent Ashley Agrait
       16. FBI Special Agent Matthew Lane
       17. Leyla Lopez
       18. DEA Special Agent Jessenia Diaz
       19. Chad King
       20. Donna Richards
       21. Paul Short
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    22. Nino Palana
    23. Karen Ecarius
    24. Francis Crespo
    25. Gladys Alonso
    26. Mark Rubenstein, M.D.
